AO 245B      (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
             Sheet 1



                                           United States District Court
                                                            District of Kansas
           UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                       v.
                 James Humbert                                                Case Number:   2:13CR20033 - 001
                                                                              USM Number: 23066-031
                                                                              Defendant’s Attorney: James R. Hobbs




THE DEFENDANT:

☒          pleaded guilty to count: 1 of the Indictment.
☐          pleaded nolo contendere to count(s)       which was accepted by the court.
☐          was found guilty on count(s)      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

          Title & Section                                      Nature of Offense                           Offense Ended           Count

18 U.S.C. § 371                        Conspiracy to Harbor Illegal Aliens for Commercial                  February 2013              1
                                       Advantage and Private Gain, a Class D Felony

        The defendant is sentenced as provided in pages 1 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

☐          The defendant has been found not guilty on count(s)          .

☒          All other counts in any charging document under this case number, as such pertains to this defendant, are dismissed on the
           motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of material changes in economic
circumstances.

                                                                                                        01/29/2014
                                                                                              Date of Imposition of Judgment


                                                                                                   s/Kathryn H. Vratil
                                                                                                    Signature of Judge


                                                                                   Honorable Kathryn H. Vratil, Chief U.S. District Judge
                                                                                                 Name & Title of Judge


                                                                                                        2/7/2014
                                                                                                           Date
AO 245B     (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
            Sheet 2 – Imprisonment
                                                                                                                       Judgment – Page 2 of 6
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                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          12 months and one day.



☐         The Court makes the following recommendations to the Bureau of Prisons:


☐         The defendant is remanded to the custody of the United States Marshal.


☐         The defendant shall surrender to the United States Marshal for this district.

          ☐ at      on     .

          ☐ as notified by the United States Marshal.


☒         The execution of the imprisonment sentence is stayed until such time as Kimberly Humbert has completed the imprisonment
          sentence imposed in District of Kansas Docket 12CR20033-002-KHV (sentenced January 29, 2014, to 12 months and one
          day imprisonment). James Humbert shall surrender for service of sentence at the institution designated by the Bureau of
          Prisons:

          ☐ before       on     .

          ☒ as notified by the United States Marshal, and on a date to occur within 30 days after Kimberly Humbert is released from
          the custody of the Bureau of Prisons, including any custody in a community correctional facility.

          ☐ as notified by the Probation or Pretrial Services Officer.


                                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on                                                   to

at                                                                       , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                                   By
                                                                                                        Deputy U.S. Marshal
AO 245B      (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
             Sheet 3 – Supervised Release
                                                                                                                                       Judgment – Page 3 of 6
DEFENDANT:   James Humbert
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                                                       SUPERVISED RELEASE
           Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .



The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

☒          The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future substance
           abuse. (Check if applicable)

☒          The defendant is prohibited from possessing or purchasing a firearm, ammunition, destructive device, or any other dangerous weapon.
           (Check if applicable)

☒          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable)

☐          The defendant shall register as a sex offender, and keep the registration current, in each jurisdiction where the defendant resides, where the
           defendant is an employee, and where the defendant is a student. For initial registration purposes only, the defendant shall also register in
           the jurisdiction in which convicted, if such jurisdiction is different from the jurisdiction of residence. Registration shall occur not later than
           3 business days after being sentenced, if the defendant is not sentenced to a term of imprisonment. The defendant shall, not later than 3
           business days after each change in name, residence, employment, or student status, appear in person in at least one jurisdiction in which the
           defendant is registered and inform that jurisdiction of all changes in the information required. (Check if applicable)

☐          The defendant shall participate in an approved program for domestic violence. (Check if applicable)

         If this judgment imposes a fine or restitution, it is to be a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on
the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or the probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependents and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other acceptable
      reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substances
      or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
      unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
      contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
      the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
      personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
      with such notification requirement.
AO 245B    (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                                  Judgment – Page 4 of 6
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                                    SPECIAL CONDITIONS OF SUPERVISION
1.        The defendant is prohibited from possessing or purchasing a firearm, ammunition, destructive device, or
          other dangerous weapon.

2.        The defendant shall immediately provide the probation officer with access to any and all requested
          financial information, to include executing any release of information forms necessary for the probation
          office to obtain and/or verify said financial information.

3.        The defendant shall cooperate with the Kansas Department of Revenue to satisfactorily resolve any
          pending tax obligations.

4.        The defendant shall make total payments of not less than 5% of his monthly gross household income
          toward any outstanding judgments over the term of supervised release to commence within 30 days after
          his release from imprisonment.
AO 245B     (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
            Sheet 5 – Criminal Monetary Penalties
                                                                                                                          Judgment – Page 5 of 6
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                                          CRIMINAL MONETARY PENALTIES
          The defendant shall pay the total criminal monetary penalties under the Schedule of Payments set forth in this Judgment.
                                                  Assessment                            Fine                            Restitution

             Totals:                                  $100                             Waive                               None


☐         The determination of restitution is deferred until          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

☐         The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

                   Name of Payee                                    Total Loss*           Restitution Ordered          Priority or Percentage




                        Totals:                                                 $                       $

☐         Restitution amount ordered pursuant to plea agreement $           .

☐         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options set forth
          in this Judgment may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐         The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

          ☐ the interest requirement is waived for the ☐ fine and/or ☐ restitution.

          ☐ the interest requirement for the ☐ fine and/or ☐ restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
AO 245B     (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
            Sheet 6 – Schedule of Payments
                                                                                                                          Judgment – Page 6 of 6
DEFENDANT:   James Humbert
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A      ☐       Lump sum payment of $ due immediately, balance due
               ☐ not later than , or
               ☐ in accordance with ☐ C, ☐ D, ☐ E, or ☐ F below; or

B      ☒       Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☒ F below); or

C      ☐       Payment in monthly installments of not less than 5% of the defendant's monthly gross household income over a period
               of   years to commence      days after the date of this judgment; or

D      ☐       Payment of not less than 10% of the funds deposited each month into the inmate's trust fund account and monthly
               installments of not less than 5% of the defendant's monthly gross household income over a period of    years, to
               commence       days after release from imprisonment to a term of supervision; or

E      ☐       Payment during the term of supervised release will commence within       (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
               time; or

F      ☒       Special instructions regarding the payment of criminal monetary penalties:

If restitution is ordered, the Clerk, U.S. District Court, may hold and accumulate restitution payments, without distribution, until the
amount accumulated is such that the minimum distribution to any restitution victim will not be less than $25.

Payments should be made to Clerk, U.S. District Court, U.S. Courthouse - Room 259, 500 State Avenue, Kansas City, Kansas 66101.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount Joint and Several Amount and
corresponding payee, if appropriate.

          Case Number                                                                                                Joint and Several
 (Including Defendant Number)                                       Defendant Name                                       Amount


☐         The defendant shall pay the cost of prosecution.

☐         The defendant shall pay the following court cost(s):

☒         Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the court orders that the Preliminary Order of
          Forfeiture is now final as to this defendant. Payments against any money judgment ordered as part of a forfeiture order
          should be made payable to the United States of America, c/o United States Attorney, Attn: Asset Forfeiture Unit, 1200 Epic
          Center, 301 N. Main, Wichita, Kansas 67202.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
